     Case 3:11-cr-02450-H   Document 96      Filed 10/11/11    PageID.237     Page 1 of 1



                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNI
                                                                               FILED

UNITED STATES OF AMERICA,                      CASE NO. llCR24 5 a SOUTHERN
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                                                                    H CI.EnK. u.s. DISTRICT COURT
                                                                              DISTRICT OF CALIFORNIA
                                                                       BY                    DEPUTY
                       Plaintiff,
               vs.                             JUDGMENT OF DISMISSAL
ULISES ARON RAMIREZ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Superseding Information:

    18:371 - Conspiracy to Bring Illegal Aliens into the United States for

    Financial Gain (8:1324      (a) (2) (B) ( i i ) ) .

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 10/11/11
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                                                WILLIAM McCURINE, JR      \~
                                                UNITED STATES MAGISTRATE JUDGE
